 8:06-cr-00071-LSC-TDT            Doc # 51   Filed: 08/09/06   Page 1 of 1 - Page ID # 82




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:06CR71
                     Plaintiff,                   )
                                                  )
       vs.                                        )             ORDER
                                                  )
GUSTAVO SAUCEDO-BELTRAN,                          )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion of Mary C. Gryva to withdraw as
retained counsel for the defendant, Gustavo Saucedo-Beltran (Saucedo-Beltran) (Filing No.
49). Since retained counsel, James E. Mitchell, have entered an appearance for Saucedo-
Beltran (Filing No. 47), Ms. Gryva’s motion to withdraw (Filing No. 49) is granted.
       Ms. Gryva shall forthwith provide Mr. Mitchell with the discovery materials provided
the defendant by the government and such other materials obtained by Ms. Gryva which
are material to Saucedo-Beltran’s defense.
       Withdrawing counsel shall submit her CJA 20 voucher to the Office of the Federal
Public Defender within forty-five (45) days of this order. The clerk shall provide a copy of
this order to the Office of the Federal Public Defender.
       IT IS SO ORDERED.
       DATED this 9th day of August, 2006.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
